Case 2:07-cr-00094-LRS   ECF No. 273   filed 10/26/09   PageID.1078 Page 1 of 6
Case 2:07-cr-00094-LRS   ECF No. 273   filed 10/26/09   PageID.1079 Page 2 of 6
Case 2:07-cr-00094-LRS   ECF No. 273   filed 10/26/09   PageID.1080 Page 3 of 6
Case 2:07-cr-00094-LRS   ECF No. 273   filed 10/26/09   PageID.1081 Page 4 of 6
Case 2:07-cr-00094-LRS   ECF No. 273   filed 10/26/09   PageID.1082 Page 5 of 6
Case 2:07-cr-00094-LRS   ECF No. 273   filed 10/26/09   PageID.1083 Page 6 of 6
